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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                       §
    ENOVSYS LLC,                       §
                                       §
                    Plaintiff,         §
                                       §
          v                            §                     CASE NO. 2:21-CV-00315-JRG-RSP
                                       §
    VERIZON COMMUNICATIONS, INC.,      §
    VERIZON BUSINESS NETWORK
                                       §
    SERVICES, INC., VERIZON ENTERPRISE
                                       §
    SOLUTIONS, LLC, CELLCO PARTNERSHIP
                                       §
    D/B/A VERIZON WIRELESS, INC.,
    VERIZON DATA SERVICES LLC, VERIZON §
    BUSINESS GLOBAL, LLC, and VERIZON  §
  . SERVICES CORP.,                    §
                                       §
                     Defendants.       §
                                       §

                                                ORDER

         Before the Court Plaintiff Enovsys LLC and Defendant Cellco Partnership d/b/a

  Verizon Wireless jointly notify the Court that the parties have reached a settlement and move

  to stay all deadlines. Dkt. No. 100. Having considered the motion and its joint nature, the

  motion is GRANTED and all pending deadlines are stayed until August 22, 2022, by which

  date the parties shall file dismissal papers with the Court.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 29th day of July, 2022.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
